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1                                                              The Honorable Richard A. Jones
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7                            UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
8
                                         AT SEATTLE
9
10
      UNITED STATES OF AMERICA,                         NO. CR11-0070RAJ
11
                              Plaintiff
                                                        TRIAL BRIEF
12
13
                        v.
                                                        TRIAL DATE: August 15, 2016
14
      ROMAN V. SELEZNEV,
15
                              Defendant.
16
17
                                          I.   INTRODUCTION
18
            Defendant Roman Seleznev is charged in a 40-count Second Superseding
19
     Indictment with various crimes arising out of an international computer hacking and
20
     credit card fraud scheme that Seleznev orchestrated between 2007 and 2014.
21
     Specifically, Seleznev hacked into the computer systems of hundreds of businesses
22
     (many of them pizza restaurants) in the Western District of Washington and around the
23
     world. Seleznev installed malicious software on his victims’ computer systems that
24
     allowed him to steal the credit card data of their customers. Seleznev, using the
25
     nicknames “nCuX,” “Track2,” “Bulba,” and “2Pac,” then sold the stolen credit card data
26
     on automated websites. Seleznev’s customers used the data to make fraudulent credit
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     card purchases, resulting in a current known fraud loss of approximately $170 million.
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 1          Trial is scheduled for August 15, 2016. The government expects to call
 2 approximately 20 witnesses. The government anticipates that it will complete the
 3 presentation of its case-in-chief in 12 trial days. AUSA Seth Wilkinson will deliver the
 4 opening statement. With the Court’s permission, the government will split closing
 5 arguments, with AUSA Norman Barbosa delivering the closing argument and
 6 Department of Justice Trial Attorney Harold Chun delivering the rebuttal. Mr. Chun will
 7 also represent the United States during voir dire.
 8                  II.    BACKGROUND AND SUMMARY OF EVIDENCE
 9 A.       Overview
10          The charges stem from Seleznev’s participation in the international online
11 “carding” community. “Carding” is a term used to describe criminal computer hacking
12 for the purpose of stealing and trafficking in credit card data. “Carders” advertise stolen
13 credit card data, share information, and trade hacking tools and other related goods and
14 services anonymously on underground internet forums known as “carding forums.”
15 Carding forum participants use alias nicknames known as “nics,” which allow them to
16 maintain anonymity while building an online reputation.
17          The Second Superseding Indictment alleges that, between 2007 and 2014,
18 Seleznev hacked into businesses’ credit card processing systems known as point of sale
19 (“POS”) systems, where he would install malware designed to collect credit card
20 numbers processed by the businesses. The malware would then periodically send the
21 credit card numbers to computer servers controlled by Seleznev. Seleznev offered the
22 stolen credit card numbers for sale over the internet with the intent that the purchaser
23 would use the numbers for fraudulent transactions.
24          Defendant used various nics over the course of his criminal career. Between 2002
25 and 2009, Seleznev operated under the nic “nCuX,” which is the transliteration of the
26 Russian word for “psycho.” Between 2009 and 2012, Seleznev used the nic “Track2,”
27 and operated automated vending sites with the names “Track2” and “Bulba.” Finally,
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 1 between February 2013 and his capture on July 5, 2014, defendant used the nic “2Pac”
 2 and operated websites with the names “2Pac” and “POS Dumps.”
 3 B.       Defendant’s Criminal Identities
 4          1.      nCuX
 5          The evidence will show that an individual using the online nic nCuX began
 6 participating in the international carding community in approximately 2002. The United
 7 States Secret Service (“Secret Service”) began monitoring nCuX’s activity in 2005.
 8 Through the review of underground carding forums, the Secret Service learned that nCuX
 9 was active on several carding forums including Carder.org, and CarderPlanet.
10          Carding forum records show that in approximately 2007, nCuX began selling
11 stolen credit card data over the internet. Between 2007 and 2009, nCuX regularly offered
12 for sale large volumes of stolen credit cards by placing advertisements on the carding
13 forums for “bases,” a slang term for batches of stolen credit card data, to customers who
14 would later use the stolen data to commit credit card fraud.
15          As a result of nCuX’s active online presence, the Secret Service identified nCuX
16 as a top-tier target. On May 19, 2009, Secret Service agents met with Russian law
17 enforcement authorities and disclosed to the Russian authorities their knowledge of
18 nCuX’s activities, as well as their suspicions that nCuX was a Russian national named
19 Roman Seleznev. Just one month later, on June 21, 2009, nCuX posted an announcement
20 stating that he was going out of business. nCuX then completely disappeared from the
21 Internet.
22          2.      Track2 and Bulba
23          Following nCuX’s disappearance from the internet, a new carder using the nic
24 “Track2” appeared on the same carding forums previously frequented by nCuX. On
25 September 26, 2009, Track2 appeared on the carding forum Carder.su and announced the
26 opening of an automated vending site with the web address “track2.tv.”
27          Automated vending sites like the Track2 site are websites that facilitate the
28 automatic mass sale of stolen credit card data. While these sites are devoted to credit
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 1 card fraud, their design and operation is similar to legitimate online retailers such as
 2 Amazon. Customers search for stolen credit card numbers meeting certain specifications.
 3 For example, customers may search for credit cards issued by a particular bank. Once the
 4 customer has identified the numbers he or she wishes to purchase, he or she places items
 5 in a shopping cart and purchases the stolen information using difficult-to-trace e-currency
 6 payment methods such as Liberty Reserve, Web Money, or Bitcoin.
 7          In April 2010, while the Track2 site was still operating, Track2 began directing
 8 existing and potential customers to another site with the address “bulba.cc.” Track2’s
 9 online posts described bulba.cc as “our official reseller.” Bulba was almost identical to
10 the Track2 sites in appearance and function. Below is a screenshot of the bulba website:
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23          Seleznev was seriously injured in Morocco in April 2011. Following the accident,
24 undercover law enforcement visits to the bulba website found the website was failing to
25 update its stolen credit card data. On December 30, 2011, Track2 posted an
26 announcement that he was closing his sites as of January 7, 2012 because “[we] don’t
27 have more dumps.” Track2 and Bulba subsequently disappeared from the internet.
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 1          3.      2Pac and POS Dumps
 2          In February 2013, a carder using the nic “2pac” appeared on the internet. 2pac
 3 established a presence on carding forums and began selling credit card numbers on an
 4 automated vending site at the domain “2pac.cc.” 2pac promoted his site as “the Best
 5 Dumps Market.”
 6      The 2pac website resembled the bulba and Track2 websites in appearance.
 7 However, unlike those two sites, the 2pac site not only sold card data that the website
 8 operator had himself compromised; it also served as a reseller, purchasing blocks of
 9 stolen card data from other hackers and selling that data on consignment. In 2013, and in
10 the first half of 2014, 2pac.cc was one of the major vendors of stolen credit cards on the
11 internet. 2Pac offered for sale card data traced to numerous major retail point-of-sale
12 breaches including Target, Neiman Marcus, Michaels, Staples and Home Depot.
13          2Pac also operated a second website known as “POS Dumps.” POS Dumps
14 served the dual purposes of training potential customers on how to use stolen credit card
15 data, and channeling the potential customers to the 2Pac website. The front page of this
16 website contained the following introduction:
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 1          POSDumps.com instructed users on how to purchase stolen credit card data, and
 2 how to re-encode the data onto blank credit cards for use in fraudulent purchases. The
 3 POSDumps.com website contained advertisements for 2pac.cc and commentary
 4 encouraging users to purchase their dumps at 2pac.cc.
 5 C.       The Secret Service Investigation
 6          In the summer of 2010, Seattle Police Detective David Dunn, a member of the
 7 Seattle Secret Service Electronic Crimes Task Force, was asked to investigate an
 8 intrusion into the POS systems at a Schlotzky’s Deli in Coeur d’Alene, Idaho. Detective
 9 Dunn’s investigation led him to the bulba.cc and track2.name vending sites, where data
10 stolen during the Schlotzky’s intrusion had been sold. Then, Detective Dunn was asked
11 to respond to a number of intrusions at businesses in the Western District of Washington,
12 including Seattle businesses such as Broadway Grill, Mad Pizza and Grand Central
13 Baking. In investigating these hacks, Detective Dunn found that the malicious software
14 installed on these victims was similar to that installed at Schlotzky’s.
15          By analyzing the victim computers, Detective Dunn was able to determine the
16 methods of intrusion and map out parts of Track2’s computer infrastructure. Detective
17 Dunn found that the intruder had scanned the internet for open “ports”—pathways
18 intended to allow an offsite IT specialist to remote access a business’s computer system
19 to perform maintenance. After identifying a system with an open port, the intruder
20 obtained remote access to the computer and installed malware (malicious software) on
21 victims’ machines. The malware searched the computer systems for credit card data,
22 which it would then collect and periodically send to servers known as “collection
23 servers” controlled by the intruder. The intruder would then offer the stolen data for sale
24 on the Track2 and Bulba websites.
25          Detective Dunn partnered with Special Agent Keith Wojcieszek, a Washington
26 DC-based Secret Service agent who was also investigating Track2. Both Detective Dunn
27 and Special Agent Wojcieszek conducted undercover operations in which they visited the
28 Track2 and Bulba websites. Detective Dunn and Special Agent Wojcieszek both
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1 established undercover accounts on the Bulba site and purchased stolen credit cards from
2 the site.
3           Detective Dunn and Special Agent Wojcieszek identified the infrastructure
4 (servers and email accounts) that Track 2 used to operate his business. In cases where the
5 infrastructure was located in the United States, they obtained search warrants to look for
6 evidence of Track2’s true identity. As discussed below, this investigation developed
7 overwhelming evidence that Roman Seleznev is nCuX, Bulba and Track2.
8 D.        Evidence Identifying Roman Seleznev as Track2, Bulba and nCuX
9           1.      The HopOne Server
10
            Among the servers used to collect Track2’s stolen credit cards was a server known
11
     as the “HopOne” server. Unlike other collection servers used by Track2, the HopOne
12
     server was located in the United States (in Virginia) and was therefore subject to U.S.
13
     process. On January 19, 2011, Special Agent Wojcieszek obtained a search warrant in
14
     the Eastern District of Virginia to search the HopOne server and two related servers at the
15
     same location. A search of the HopOne server revealed that the server had been used to
16
     collect hundreds of thousands of credit card numbers stolen from compromised retailers
17
     around the world, including the ones in the Western District of Washington that Detective
18
     Dunn had been investigating.
19
            The search of the HopOne server also revealed numerous forensic artifacts linking
20
     the server to Roman Seleznev. For example, a forensic analysis found remnants of web
21
     browsing history showing that the user of the HopOne server had made multiple travel
22
     reservations for Roman Seleznev using that server. The reservations contained
23
     Seleznev’s date of birth and passport number, along with the names of his wife, daughter,
24
     nanny, mother and father in law, and two known associates. Analysis of the HopOne
25
     server also showed that the user had used two email accounts: Romariogro@mail.ru
26
     (which was found on defendant’s laptop and iPhone at the time of his arrest) and
27
     rubensamvelich@yahoo.com (which has numerous links to Seleznev discussed below).
28
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 1            2.       Boookscafe@yahoo.com
 2            Track2 used several Yahoo! email accounts to operate his enterprise. One of these
 3 was an account with the address “boookscafe@yahoo.com” (the “Boookscafe Account”).
 4 The Boookscafe Account was used to register several nCuX-related domains in 2009. 1
 5 The Boookscafe Account was also used to manage the server known as the “smaus” or
 6 “shmak” server, which hosted the malware Track2 installed on victim machines.
 7            Special Agent Wojcieszek obtained a warrant to search the Boookscafe Account.
 8 The search produced extensive e-mail evidence confirming that nCuX and Track2 had
 9 used the Boookscafe Account to manage the nCuX and Track2 carding operations. For
10 example, the account received billing statements for the “smaus” server (Track2’s
11 malware repository) and emails confirming registration of nCuX websites. It also
12 included numerous emails addressed to nCuX discussing the purchase and sale of stolen
13 credit card data.
14            The Boookscafe Account also contained overwhelming evidence showing that
15 Roman Seleznev was the user of the account. The evidence includes the following:
16
                   • Emails to Seleznev from Seleznev’s wife, Svetlana Selezneva, attaching
17                   pictures of herself and their daughter;
18                 • E-mails addressed to “Roman Seleznev” from the Russian social media site
                     Vkontakte;
19
                   • Invoices from a Russian online flower business, sendflowers.ru, addressed
20                   to Roman Seleznev with details of flower orders placed by Mr. Seleznev to
21                   be delivered to Svetlana Selezneva at Roman Seleznev’s home address; and
22                 • An invoice addressed to Seleznev from the Russian online retailer “Internet
                     Store – Defencer” for the purchase of an external microphone in September
23                   2009 listing a phone number known to be used by Seleznev.
24            In addition, the Boookscafe Account also contained several e-mails showing that
25 the user frequently opened internet accounts with the user name “smaus” and the
26
27   1
      To open a website, a person is required to provide certain registration information, including his name and email
28   address to a domain name registrar. While criminals often use fictitious names to register criminal websites, they
     must use a valid email account so that they can respond to any issue raised by the registrar.
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 1 password “ochko.” For example, the user opened an investment account using “smaus1”
 2 and “ochko123” as the username and password, respectively. A forensic examination of
 3 the laptop seized from Seleznev during his arrest later revealed that Seleznev’s user
 4 account for his laptop was named “smaus” and the password was “ochko123.”
 5 Seleznev’s laptop also contained several password “cheat sheets” (lists of passwords and
 6 usernames). The “cheat sheets” showed that Seleznev frequently used “smaus” and
 7 “ochko” as usernames and passwords.
 8          3.      Rubensamvelich@yahoo.com
 9          The investigation found that Track2 also used a second Yahoo account with the
10 address rubensamvelich@yahoo.com (the “Rubensamvelich Account”) to operate his
11 enterprise. For example, Track2 used the Rubensamvelich Account to register the Track2
12 automated vending sites. Track2 also used this email account to manage the HopOne
13 server discussed above.
14          Detective Dunn and Special Agent Wojcieszek obtained a search warrant for the
15 Rubensamvelich Account. Again, the search confirmed that Track2 had used the account
16 for his criminal activity. For example, the account contained emails pertaining to the
17 registration of the Track2 sites, emails discussing the purchase and sale of credit card
18 data, and emails in which Track2 contracted with computer service providers to provide
19 services for the Track2 site.
20          As with the Boookscafe Account, the search of the Rubensamvelich Account
21 revealed links to Roman Seleznev. For example, the account included an e-mail from
22 PayPal dated September 19, 2009, addressed to “Roman Seleznev,” and listing
23 Seleznev’s known Vladivostok address. The account contained a receipt for the purchase
24 of a travel guide to Bali purchased during a period when defendant was in Indonesia.
25 The account also contained dozens of e-mails showing that the user of the account
26 frequently used the words “smaus” and “ochko123” as his password and login
27 information.
28
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 1            4.       bulbacc@yahoo.com
 2            Track2 used an email account with the address bulbacc@yahoo.com (the “Bulba
 3 Account”) to register the “bulba” automated vending site. Detective Dunn and Special
 4 Agent Wojcieszek also obtained a warrant to search this account. The search showed that
 5 the Bulba Account received very little use and did not itself contain evidence explicitly
 6 linking the account to Seleznev. However, the account did contain records showing that
 7 the login and password for the email account were “bulbacc” and “telkom135,”
 8 respectively. Agents later found this login and password account information saved on
 9 the password “cheat sheet” that Seleznev maintained on his personal laptop.
10            5.       Liberty Reserve Data
11            Track2 collected payments for the credit card data he sold using a Costa Rica-
12 based digital currency service known as Liberty Reserve. Liberty Reserve allowed users
13 to remain anonymous, and for this reason was widely used as a payment system for
14 criminal transactions. The Secret Service seized Liberty Reserve’s servers in May 2013
15 in connection with a federal indictment against the operators of the site. 2
16            At trial, the government will offer account records seized from Liberty Reserve
17 that establish links between Seleznev and his online nics. Specifically, registration data
18 from numerous Liberty Reserve accounts will show that the accounts were opened with
19 information connected to Seleznev, such as his true name, date of birth, and home
20 address in Vladivostok, Russia. The Liberty Reserve accounts were also opened with
21 email accounts linked to Seleznev such as the Rubensamvelich Account and
22 romariogrol@mail.ru. Additionally, connection logs for defendant’s numerous accounts
23 will show that the accounts were accessed by similar IP addresses, thereby connecting
24 them together. Furthermore, transaction records will show that transactions were noted
25 with comments referring to defendant’s true name, bulba.cc, track2 and “dumps.” The
26
27   2
      In January 2016, the founder of Liberty Reserve plead guilty to conspiring to commit money laundering. In May
28   2016, he was sentenced to 20 years prison. See https://www.justice.gov/opa/pr/liberty-reserve-founder-sentenced-
     20-years-laundering-hundreds-millions-dollars.
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 1 transaction records will also indicate that within approximately four years, defendant’s
 2 accounts received more than 17 million dollars in deposits from more than 67,000
 3 transactions. Lastly, agents will testify that they later found login information for some
 4 of the Liberty Reserve accounts on the password “cheat sheet” that Seleznev maintained
 5 on his personal laptop.
 6 E.       Evidence Seized During Defendant’s Arrest
 7          1.      Charges and Arrest
 8          On March 16, 2011, a grand jury in this district charged Seleznev with 29 felony
 9 counts arising out of his computer intrusions into businesses in the Western District of
10 Washington. Defendant remained at large until July 5, 2014, when he was apprehended
11 in Male, the capital of the island nation of the Maldives, with the assistance of Maldivian
12 authorities. At the time of his arrest, Seleznev was carrying a laptop computer, an
13 iPhone, his passport, and other pieces of evidence, all of which were seized by the
14 arresting agents.
15          Defendant has repeatedly challenged the circumstances of his arrest, arguing that
16 he was “kidnapped” in violation of international law. This claim was rejected first by the
17 district Court in Guam (where defendant was taken immediately after his arrest) and then
18 by this Court. Despite these rulings, defense counsel has continued to state in open court
19 that his client was kidnapped. The government has separately moved in limine to
20 prohibit counsel from making these improper statements in the presence of the jury. Dkt
21 359.
22          2.      The Laptop
23
            On July 28, 2014, the Honorable James P. Donohue authorized a warrant for the
24
     search of defendant’s laptop and iPhone. Secret Service agents discovered overwhelming
25
     evidence on the laptop demonstrating that Seleznev was the true identity of nCuX,
26
     Track2, Bulba, and 2Pac. The evidence on the laptop includes, but is not limited to:
27
                 • Approximately 250 “dump files” containing card data for approximately
28                 1.7 million stolen credit cards;
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 1               • An electronic password “cheat sheet” that contained the logon IDs and
                   passwords for carding-related accounts, including the bulba and 2Pac sites.
 2
                   The most frequently-used logon ID and password were “ochko” and
 3                 “smaus”—the same credentials used by Track2 on the Boookscafe Account
                   and Rubensamvelich Account;
 4
                 • The pictures, text, and other raw file materials used to create the “POS
 5
                   Dumps” website;
 6
                 • Evidence that the user of the laptop repeatedly logged onto various
 7                 websites, including the 2Pac website, using the name “2Pac;
 8               • Chats between 2Pac and other carders discussing the purchase and sale of
                   stolen credit card data; and
 9
                 • Evidence that, just two days before his apprehension, Seleznev had logged
10                 on to the U.S. Courts’ Pacer website and conducted criminal case searches
11                 on the Pacer system for the names “Seleznev,” “Bulba,” and “2pac.”
12          On May 10, 2016, Seleznev moved to suppress all evidence obtained from the
13 laptop, arguing that the laptop had been mishandled by Secret Service forensic analysts,
14 and that post-seizure file activity indicated that the computer had been subject to
15 tampering. On June 23, 2016, the Court denied the motion, finding that the
16 “overwhelming weight of the evidence” indicates that the post-seizure activity was the
17 result of normal background and operating system activity, and was not caused by a user.
18          3.      The iPhone
19          The search of Seleznev’s iPhone produced additional evidence of Seleznev’s
20 criminal activity. For example, the government will present the following evidence
21 retrieved from Seleznev’s iPhone:
22               • Emails reflecting Seleznev’s use of the “smaus” and “ochko” login and
23                 password;

24               • Emails reflecting Seleznev’s use of the “Romariogro” email account; the
                   same email used by the user of the HopOne server and relevant Liberty
25                 Reserve accounts;
26               • A photograph of a chat between 2Pac and another carder; and
27               • Evidence of unexplained wealth, including photographs of packages of
28                 large amounts of cash, and defendant with high-end automobiles.

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 1 F.       Evidence of Post-Arrest Activity
 2          Following Seleznev’s arrest, the 2pac.cc vending site experienced a downturn
 3 similar to what was seen on the bulba.cc vending site following defendant’s injury in
 4 April 2011. Customers began complaining that updates were infrequent and that the
 5 proprietor of the shop had gone silent and was no longer responding to customer support
 6 inquires. A few weeks after defendant’s arrest, someone posted a message apologizing
 7 for the extended outage and stated that new cards would soon be added to the inventory.
 8 The message, which was dated August 8, 2014, explained that the proprietor of the shop
 9 was unreachable because he was hospitalized following a “car accident.”
10       The site continued to operate until August 15, 2014. On that day, at Seleznev’s
11 detention hearing, the government revealed that it believed Seleznev was the true identity
12 behind 2pac. The site went dead within hours of the hearing. The site briefly went back
13 online in September 2014, but the following month was seized by the German Federal
14 Police at the request of the United States Department of Justice.
15                           III.      CHARGES AND RELEVANT LAW
16
     A.     Procedural Background
17
            As noted above, the grand jury originally charged Seleznev in a 29-count
18
     indictment on March 3, 2011. The original indictment charged Seleznev with his
19
     criminal activities under the nics “nCuX,” “Track2,” and “Bulba.” That indictment was
20
     superseded on March 16, 2011 to make a minor technical change.
21
            In early 2014, the USSS began developing evidence that Seleznev was the true
22
     identity of “2Pac.” On October 8, 2014, following Seleznev’s arrest, the grand jury
23
     charged Seleznev in a 40-count Second Superseding Indictment that adds charges for
24
     Seleznev’s conduct using the “2pac” nic, including a 2013 intrusion into Red Pepper
25
     Pizza in Duvall, Washington.
26
27
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1           This matter was originally set for trial on October 6, 2014. Seleznev subsequently
2 substituted attorneys four times and requested and received four continuances of the trial
3 date. Trial is now scheduled for August 15, 2016.
4 B.        Charges
5           1.      Counts 1-11: Wire Fraud
6
            The Charges and Elements: Counts 1 through 11 charge Seleznev with wire
7
     fraud in violation of 18 U.S.C. § 1343. The charges allege that the defendant
8
     participated in a scheme to defraud banks and merchants through the fraudulent
9
     presentation of stolen credit card data. There are two types of charged wire
10
     transmissions: (a) incidents in which Seleznev caused the transmission of malware onto
11
     victim computers in this district (counts 1-8 and 11); and (b) incidents in which Seleznev
12
     caused the transmission of stolen credit card data from victim machines in this district to
13
     collection servers located outside of Washington (counts 9 and 10).
14
            The Ninth Circuit model wire fraud instruction sets out the following elements:
15
            First, the defendant knowingly participated in a scheme or plan to defraud,
16          or a scheme or plan for obtaining money or property by means of false or
17          fraudulent pretenses, representations, or promises;

18          Second, the statements made or facts omitted as part of the scheme were
            material; that is, they had a natural tendency to influence, or were capable
19
            of influencing, a person to part with money or property;
20
            Third, the defendant acted with the intent to defraud; that is, the intent to
21          deceive or cheat; and
22
            Fourth, the defendant used, or caused to be used, a wire communication to
23          carry out or attempt to carry out an essential part of the scheme to defraud.
24
     Ninth Circuit Model Instruction 8.124. The government need not prove justifiable
25
     reliance or damages; nor need it show that the scheme was successful. Id.; see Neder v.
26
     United States, 527 U.S. 1, 25 (1999).
27
28
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 1          The government has proposed this model instruction, but has suggested that the
 2 fourth element be modified to make clear that the wiring must be an interstate or
 3 international wire transmission. United States v. Jinian, 725 F.3d 964, 965 (9th Cir.
 4 2013) (wire must be interstate, though defendant need not be aware of its interstate
 5 nature). Following is a discussion of principles relevant to certain elements of this
 6 offense:
 7          Scheme to Defraud: A scheme to defraud may be proven by evidence that the
 8 defendant sought to obtain money or property by false representations, deceitful
 9 statements, half-truths, or the concealment of material facts. United States v. Beecroft,
10 608 F.2d 753, 757 (9th Cir. 1979) (mail fraud statute); United States v. Allen, 554 F.2d
11 398, 410 (10th Cir. 1977). The government need not prove a specific false statement was
12 made. See Ninth Circuit Model Jury Instructions 8.123 (2010 Edition) (quoting United
13 States v. Woods, 335 F.3d 993, 999 (9th Cir. 2003) (“Rather there are alternative routes to
14 a . . . conviction, one being proof of a scheme or artifice to defraud, which may or may
15 not involve any specific false statements.”). “[T]he words ‘to defraud’ have the common
16 understanding of wronging one in his property rights by dishonest methods or schemes
17 and usually signify the deprivation of something of value by trick, deceit, chicane or
18 overreaching.” Carpenter v. United States, 484 U.S. 19, 27 (1987) (citations omitted).
19          Use of the Wires: The United States must prove that the defendant caused an
20 interstate or foreign wire communication to be used in furtherance of the scheme. The
21 law does not require that the defendant personally cause the wire transmission. United
22 States v. Jones, 712 F.2d 1316, 1320 (9th Cir. 1983). Rather, it is enough that the
23 defendant knows that a wire will be used in the ordinary course of business or can
24 reasonably foresee such use. Id.; United States v. Lothian, 976 F.2d 1257, 1262 63 (9th
25 Cir. 1992). Furthermore, the wire communication need not itself contain a false
26 representation to be in furtherance of a scheme to defraud. The government need only
27 show that the communication was “incident to an essential part of the scheme. Schmuck
28 v. United States, 489 U.S. 705, 711 (1989). Each separate wire communication in
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 1 furtherance of the scheme to defraud constitutes a separate violation of the wire fraud
 2 statute. United States v. Vaughn, 797 F.2d 1485, 1493 (9th Cir. 1986). Here, the charged
 3 wirings were in furtherance of the scheme to defraud because they were the means by
 4 which Seleznev stole the credit card data that was ultimately presented to merchants in
 5 the fraudulent transactions.
 6          Co-Schemer Liability: “[W]ire fraud [is] treated like conspiracy in several
 7 respects.” United States v. Stapleton, 293 F.3d 1111, 1117 (9th Cir. 2002). “[A]cts of
 8 co-participants in a scheme to defraud are admissible against other participants, just as in
 9 a conspiracy charge.” Id.; see Lothian, 976 F.2d at 1263 (“[l]ike co-conspirators,
10 knowing participants in the scheme are legally liable for their co-schemers’ use of the
11 mails or wires”). Therefore, the government does not need to show that defendant
12 personally committed each element of the offense. Rather, it is sufficient to show that
13 each element was committed either by defendant or by a co-participant in the scheme to
14 defraud.
15          Verdict Form Provision Regarding “Affects a Financial Institution”: The grand
16 jury alleged in the Second Superseding Indictment that defendant’s acts of wire fraud
17 “affected a financial institution.” A defendant’s acts of wire fraud “affect a financial
18 institution” if those acts cause a new or increased risk of loss to the financial institution.
19 United States v. Stargell, 738 F.3d 1018, 1022 (9th Cir. 2013).
20          Affecting a financial institution is not a necessary element of liability under
21 Section 1343. However, if the petite jury concludes that the wire fraud did indeed affect
22 a financial institution, this would increase the statutory maximum from 20 years to 30
23 years. 18 U.S.C. § 1343. Accordingly, the government is proposing a verdict form that
24 allows the jury to make this specific finding. The proposed verdict forms first asks the
25 jury for a finding on whether the four elements of the offense are satisfied, i.e., whether
26 Seleznev is guilty of wire fraud. If the jury reaches a guilty verdict on any count of wire
27 fraud, the verdict form asks the jury to determine whether the crime affected a financial
28 institution.
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 1          2.      Counts 12-20: Intentional Damage to a Protected Computer
 2          The Charges and Elements: Counts 12-20 charge Seleznev with intentional
 3 damage to a protected computer in violation of 18 U.S.C.§ 1030(a)(5)(A). This statute
 4 makes it a crime to “knowingly cause[] the transmission of a program, information, code,
 5 or command, and as a result of such conduct, intentionally cause[] damage without
 6 authorization, to a protected computer.” The statute defines “protected computer” to
 7 include any computer “used in or affecting interstate commerce.” 18 U.S.C.
 8 § 1030(e)(2)(B).
 9       These charges allege that Seleznev damaged the specified victim computers by
10 installing malicious software on those computers. The government has proposed the
11 Ninth Circuit model instruction, which sets forth the following elements:
12          First, the defendant knowingly caused the transmission of a program,
13          information, code, or command to a computer;
14          Second, as a result of the transmission, the defendant intentionally
15          impaired, without authorization, the integrity of a program or system; and

16          Third, the computer was used in or affected interstate or foreign commerce
17          or communication.

18 Ninth Circuit Model Jury Instruction 8.100. A discussion of certain relevant legal issues
19 follows.
20          Damage: Section 1030 defines “damage” to include “any impairment to the
21 integrity of data.” 18 U.S.C. § 1030(e)(8). Courts have held that the implantation of
22 malware and similar conduct constitutes “damage” under Section 1030(a)(5)(A).
23 United States v. Makwana, 445 F. Appx. 671, 673 (4th Cir. 2011) (affirming
24 §1030(a)(5)(A) conviction and resulting application of USSG enhancement where
25 defendant inserted malicious code onto server, even though malicious code was
26 discovered prior to its execution); see also United States v. Middleton, 231 F.3d 1207,
27 1208-1209, 1212-1213 (9th Cir. 2000) (affirming §1030(a)(5)(A) conviction where
28 defendant’s unauthorized access “allowed Defendant to take advantage of the benefits
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 1 and privileges associated with that employee’s account, such as creating and deleting
 2 accounts and adding features to existing accounts.”); Shurgard Storage Centers, Inc. v.
 3 Safeguard Self Storage, Inc., 119 F. Supp. 2d 1121, 1126-27 (W.D. Wash. 2000)
 4 (denying motion to dismiss civil 1030(a)(5)(C) charge where “no data was physically
 5 changed or erased, but . . . an impairment of its integrity occurred”).
 6          Verdict Form Provision Regarding Loss: A violation of Section 1030(a)(5)(C) is
 7 punishable by up to ten years of imprisonment if the offense caused loss of loss of at least
 8 $5,000 in any one-year period; otherwise the crime is punishable as a misdemeanor. 18
 9 U.S.C. § 1030(a)(4)(B)(1). The government’s proposed verdict form asks the jury to
10 determine whether this condition is satisfied.
11          3.      Counts 21-29: Obtaining Information From a Protected Computer
12          The Charges and Elements: Counts 21-29 charge Seleznev with obtaining
13 information from a protected computer in violation of 18 U.S.C.§ 1030(a)(2). Section
14 1030(a)(2) makes it a crime to “intentionally access a computer without authorization”
15 and thereby obtain “information from any protected computer.” As discussed above, any
16 computer used in interstate or foreign commerce is a “protected computer.” Here, the
17 indictment alleges that Seleznev violated the statute in nine instances by hacking into
18 victim computers, installing malware, and obtaining credit card numbers from the victim
19 machines.
20       The government has proposed the Ninth Circuit model instruction for this offense,
21 which sets forth the following elements:
22       First, the defendant intentionally accessed without authorization a
23          computer; and
24          Second, by accessing without authorization a computer, the defendant
25          obtained information from a computer that was used in or affected
            commerce or communication between one state and other states, or between
26          a state of the United States and a foreign country.
27
     Ninth Circuit Model Jury Instruction 8.97. The Ninth Circuit has held that a person
28
     accesses a computer “without authorization” under this statute when a “hacker accesses
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 1 someone’s computer without permission.” LVRC Holdings LLC v. Brekka, 581 F.3d
 2 1127, 1135 (9th Cir. 2009); see United States v. Nosal, -- F.3d --, 2016 WL 3608753, *8-
 3 9 (9th Cir. July 5, 2016) (reaffirming Brekka’s definition of “without authorization”).
 4          Verdict Form Provision Regarding Financial Gain and other Criminal Acts: A
 5 violation of Section 1030(a)(2) is punishable by up to five years of imprisonment if the
 6 offense was committed for commercial advantage or private financial gain, or if the
 7 offense was committed in furtherance of any criminal or tortious act.
 8 18 U.S.C.§ 1030((c)(2)(B)(i) and (ii). Otherwise, the offense is punishable as a
 9 misdemeanor. The government’s proposed verdict form asks the jury to determine
10 whether this condition is satisfied.
11          4.      Counts 30-38: Possession of 15 or More Unauthorized Access Devices
12          The Charges and Elements: Counts 30-38 charge Seleznev with possession of 15
13 or more unauthorized access devices in violation of 18 U.S.C.§ 1029(a)(3). This statute
14 makes it a crime to “knowingly and with intent to defraud posses[s] fifteen or more . . .
15 unauthorized access devices.” The indictment charges defendant with nine incidents of
16 possessing 15 or more access devices by collecting credit card data stored on victim
17 computers. The Ninth Circuit Model Instruction sets out the following elements:
18      First, the defendant knowingly possessed at least fifteen unauthorized
19          access devices at the same time;
20          Second, the defendant knew that the devices were unauthorized;
21
            Third, the defendant acted with the intent to defraud; and
22
            Fourth, the defendant’s conduct in some way affected commerce between
23
            one state and other states, or between a state of the United States and a
24          foreign country.
25          Access Device: The term “access device” means:
26          any card, plate, code, account number, electronic serial number, mobile
27          identification number, personal identification number . . . or other
            means of account access that can be used, alone or in conjunction with
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 1          another access device, to obtain money, goods, services, or any other
            thing of value, or that can be used to initiate a transfer of funds.
 2
 3 18 U.S.C. § 1029(e)(1); see Ninth Circuit Model Instruction 8.90. A credit card number
 4 is an access device. United States v. Onyesoh, 674 F.3d 1157, 1169 (9th Cir. 2012).
 5          Possession: “A person has possession of something if the person knows of its
 6 presence and has physical control of it, or knows of its presence and has the power and
 7 intention to control it.” United States v. Cain, 130 F.3d 381, 382 (9th Cir. 1997). The
 8 government has proposed Ninth Circuit Model Instruction 3.17, which provides this
 9 definition. Defendant “possessed” the credit card data at issue under this definition
10 because he collected it on the victims’ computer systems and exerted control over the
11 data by sending it to his collection servers.
12          5.      Counts 39-40: Aggravated Identity Theft
13          Counts 39 and 40 charge Seleznev with aggravated identify theft in violation of
14 18 U.S.C.§ 1028A. Section 1028A makes it a crime to transfer, possess or use, without
15 lawful authority, “a means of identification” during and in related to certain specified
16 offenses. 18 U.S.C.§ 1028A(a). Wire fraud, access device fraud and computer fraud are
17 specified offenses under this statute. 18 U.S.C.§ 1028A(c)(4) and (5).
18          Each 1028A charge arises out of Seleznev’s possession and transfer of a means of
19 identification (a credit card number) of an individual victim. Count 39 is based on
20 Seleznev’s possession of the credit card number of D.K., who is a Washington resident
21 that dined at Broadway Grill. Count 40 is based on Seleznev’s possession of the credit
22 card number of R.G., a Washington resident that dined at Red Pepper Pizza.
23          The government has proposed the Ninth Circuit pattern instruction for aggravated
24 identity theft, which sets forth the following elements:
25        First, the defendant knowingly transferred, possessed or used without legal
26        authority a means of identification of another person;

27          Second, the defendant knew that the means of identification belonged to a
28          real person; and

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 1          Third, the defendant did so during and in relation to the crime of wire fraud
            or access device fraud.
 2
 3 Ninth Circuit Model Jury Instruction 8.83.
 4          A credit card number is a “means of identification” within the meaning of Section
 5 1028A. See 18 U.S.C. § 1028(d)(7)(D) (defining “means of identification” to include any
 6 “access device” as defined in section 1029(e)); 18 U.S.C.§ 1029(e)(1)(defining “access
 7 device” to include any “account number . . . that can be used . . . to obtain money, goods,
 8 services, or any other thing of value”).
 9                                     IV.   EVIDENTIARY ISSUES
10 A.       Particular Hearsay Issues
11          1.      Defendant’s Statements
12          The government will offer certain statements made by Seleznev. These statements
13 are admissible as admissions of a party opponent. Fed. R. Evid. 801(d)(2)(A); United
14 States v. Burreson, 643 F.2d 1344, 1349 (9th Cir. 1981). The government may offer all,
15 some, or none of a defendant’s statements at trial under Rule 801(d)(2). Defendant may
16 not offer his own statements under this rule because they are not statements of the
17 proponent’s “party-opponent.” United States v. Ortega, 203 F.3d 675, 682 (9th Cir. 2000)
18 (party cannot offer his own statement as party admission).
19          The statements to be offered include numerous statements Seleznev made over the
20 internet in the course of operating his business. These will include online chats and email
21 communications that Seleznev made under the cover of his online nics. To admit these
22 statements as party admissions (i.e., to attribute them to Seleznev), the Court must make a
23 preliminary finding pursuant to Federal Rule of Evidence 104 that proof has been
24 introduced “sufficient to support a finding” that Seleznev (or a co-conspirator) was the
25 person who made the statements. Fed. R. Evid. 104(b). The Ninth Circuit has held that
26 the quantum of proof for this finding is the existence of “substantial evidence,” which is a
27 lower standard of proof than preponderance of the evidence. United States v. Flores, 679
28 F.2d 173, 178 (9th Cir. 1982). As discussed in the factual recitation above, there is more
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 1 than “substantial evidence” that defendant was the user of the three relevant email
 2 accounts. In addition, the chats to be offered were discovered on Seleznev’s laptop and
 3 iPhone. Accordingly, the Court should find pursuant to Rule 104 that these statements
 4 are admissible as party admissions.
 5          Similarly, in some of the e-mail and chat communications, Seleznev manifested an
 6 adoption or belief of certain statements made by others. Under those circumstances,
 7 statements of others are admissible under Fed. R. Evid. 801(d)(2)(B), which provides that
 8 the statements of others may be admitted against the defendant as long as the defendant
 9 “manifested an adoption or belief in its truth.” Fed. R. Evid. 801(d)(2)(B); see also
10 United States v. Williams, 445 F.3d 724, 735 (4th Cir. 2006), cert. denied, 127 S.Ct. 314.
11 “When a statement is offered as an adoptive admission, the primary inquiry is whether
12 the statement was such that, under the circumstances, an innocent defendant would
13 normally be induced to respond, and whether there are sufficient foundational facts from
14 which the jury could infer that the defendant heard, understood, and acquiesced in the
15 statement.” Id.; United States v. Kenny, 645 F.2d 1323, 1340 (9th Cir.) (tape recorded
16 statements of cooperating codefendant's “half of the conversation” admissible “to the
17 extent ‘adopted’ by Kenny,” and may “be treated as a group of adoptive admissions”
18 under the rule), cert. denied, 452 U.S. 920 (1981).
19          Courts have recognized that e-mail statements are admissible under this theory
20 where the defendant manifested an adopt or belief in the statement. See, e.g., Sea–Land
21 Service, Inc. v. Lozen Intern., LLC, 285 F.3d 808, 821 (9th Cir. 2002) (trial court abused
22 its discretion in excluding e-mail of company employee which was incorporated and
23 forwarded to by another employee with a message which “‘manifested an adoption or
24 belief in [the] truth’ of the information contained in the original e-mail.”); United States
25 v. Safavian, 435 F.Supp.2d 36, 43 (D.D.C. 2006) (admitting e-mails under Rule
26 801(d)(2)(B) based on the “context and content of certain e-mails” which established the
27 defendant “‘manifested an adoption or belief’ in the truth of the statements of other
28 people as he forwarded their e-mails”).
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 1            2.    Co-Conspirator Statements
 2            Statements of Seleznev’s co-conspirators (such as persons who assisted him in
 3 operating the website) are admissible under Federal Rule of Evidence 801(d)(2)(E). This
 4 rule provides that a “statement is not hearsay if . . . [it] is offered against a party and is . .
 5 . a statement by a co-conspirator of a party during the course and in furtherance of the
 6 conspiracy.” For Rule 801(d)(2)(E) to apply, it is not necessary that the conspiracy be
 7 charged. United States v. Samiento-Rozo, 676 F.2d 146, 149 (5th Cir. 1982). Further, the
 8 evidentiary rules that apply to co-conspirators apply equally to co-schemers in a wire
 9 fraud scheme. United States v. Stapleton, 293 F.3d 1111, 1117 (9th Cir. 2002).
10        3.    Records of Regularly-Conducted Activity and Rule 902 Certifications
11
              The government will offer records of regularly-conducted activities of businesses,
12
     including records of Yahoo!, Western Union, PayPal, the Bureau of Prisons, and web
13
     service providers Black Lotus, Cloudflare and Nusphere. These records are admissible
14
     pursuant to Rule 803(6), which allows for admission of a record if it is made at or near
15
     the time of the events set forth therein, by a person with knowledge, and is kept in the
16
     course of regularly-conducted activity of a business or other organization, if it is the
17
     regular practice of the organization to make the record. Fed. R. Evid. 803(6).
18
     Incompleteness, ambiguities, and inaccuracies in records go to the weight to be given the
19
     evidence, not to its admissibility. United States v. Catabran, 836 F.2d 453, 458 (9th Cir.
20
     1988).
21
              Any person familiar with the record-keeping practices of the business is a
22
     sufficient foundational witness. Personal knowledge of the document is not required, and
23
     does not affect its admissibility. United States v. Childs, 5 F.3d 1328, 1334 (9th Cir.
24
     1993) (the phrase “other qualified witness” is broadly interpreted to require “only that the
25
     witness understand the record-keeping system” at the particular organization).
26
     Furthermore, a record generated by a third party and received and relied upon in the
27
     ordinary course, such as an invoice, becomes a business record of the company relying
28
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 1 upon it. Childs, 5 F.3d at 1333-34; see United States v. Jawara, 474 F.3d 565, 585 (9th
 2 Cir. 2007) (“[W]e would have no trouble concluding that a college in the United States
 3 was a proper custodian of its’ students’ SAT results, even though the SAT results were
 4 actually prepared by another entity”). In determining whether these foundational facts
 5 have been established, the court may consider hearsay and other evidence not admissible
 6 at trial. Fed. R. Evid. 104(a).
 7            The government intends to authenticate these business records by offering Rule of
 8 Evidence 902(11) certifications rather than live testimony. Rule 902(11) provides that a
 9 party may authenticate a business record through a signed certification of records
10 custodian if the proponent of the evidence gives the adverse party adequate notice of its
11 intent to offer the record. The government has provided all 902(11)s to the defense. On
12 July 18, 2016, the government requested that the defense notify the government of any
13 objections to the 902 certifications. The government has not received any objections.
14            4.       Defendant’s Passport
15            The government intends to introduce Seleznev’s international and internal
16 passports, which were seized from him at the time of arrest. 3 The passports establish
17 defendant’s home address, passport numbers, names of his family members, and his
18 travel history. Because the government does not have access to other records maintained
19 by the Russian government, these documents are needed to prove these basic identifying
20 facts about Seleznev. This evidence is a critical part of linking Seleznev to the criminal
21 infrastructure. For example, defendant’s passport number and the names of his family
22 members appear on the HopOne server, and his address appears in the Rubenlsamvelich
23 and Boookscafe Accounts.
24            A passport is admissible under various exceptions to the hearsay rule. First, the
25 Ninth Circuit has held that a passport is admissible under the residual exception (Rule
26 807), which allows admission of a statement where the statement has circumstantial
27
28   3
      Russian citizens carry an internal passport as a means of identification.
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 1 guarantees of trustworthiness, is evidence of a material fact, and is more probative on the
 2 point for which it is offered than any other piece of evidence. United States v. Brown,
 3 770 F.2d 768, 771 (9th Cir, 1985) (district court properly admitted passports under Rule
 4 803(24), which has since be been re-codified as Rule 807). Second, passports are
 5 admissible as public records under Rule 803(8). United States v. Pluta, 176 F.3d 43, 50
 6 (2d Cir. 1999) (foreign passport properly admitted to show foreign citizenship); United
 7 States v. Eltayib, 88 F.3d 157, 169 (2d Cir. 1996) (foreign passports properly admitted to
 8 show passport holders’ dates of entry into Venezuela). Third, where, as here, the
 9 passport belongs to the defendant and the defendant has presented it as identification to
10 government officials (such as the Maldivian authorities and immigration officials of other
11 countries), the passport becomes an adopted admission of the defendant. Fed. R. Evid.
12 801(d)(2)(B) (a statement is not hearsay if it is “one the party manifested that it adopted
13 or believed to be true”).
14          5.      Statements Not Offered for Their Truth
15          Overview: Statements introduced for a non-hearsay purpose do not violate the
16 hearsay rule. See, e.g., Anderson v. United States, 417 U.S. 211, 219 (1974) (“Out of
17 court statements constitute hearsay only when offered in evidence to prove the truth of
18 the matter asserted.”); United States v. Jaramillo-Suarez, 950 F.2d 1378, 1383 (9th Cir.
19 1991) (ledgers properly introduced not to show the amounts due, but the nature of the
20 business conducted at a particular location).
21       The government will be offering many statements for purposes other than
22 establishing their truth. For example, after Seleznev was arrested, one of his co-schemers
23 posted a notice that the “boss” had “been in a car accident.” The government will offer
24 this statement not to establish that the boss of 2Pac had been in a car accident, but to
25 show that the operators of the website were attempting to explain his absence. As
26 another example, the government will offer testimony that, when Seleznev was presented
27 with the indictment at the time of his arrest, Seleznev’s immediate response was to
28 protest that the United States did not have authority to extradite him from the Maldives.
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 1 While this statement is also admissible as a party admission, is it not hearsay because it is
 2 offered to show Seleznev’s reaction to the charges—not to establish the truth of whether
 3 authority existed to extradite him.
 4          The government may also offer statements for their falsity. Such statements do not
 5 implicate the hearsay rule. United States v. Fried, 576 F.2d 787, 793 (9th Cir. 1978) (out
 6 of court statements not hearsay where offered for their falsity); see also United States v.
 7 Adkins, 741 F.2d 744, 746 (5th Cir. 1984) (“When the statements are introduced to prove
 8 the falsity of the matter asserted, they are not inadmissible as hearsay.”). In addition to
 9 these obvious examples, discussed below are broad categories of non-hearsay evidence
10 that may be offered at trial.
11          Machine-Generated Information: Some of the government’s evidence will
12 include machine-generated information. This includes the IP address, logs, date, time
13 and screen names of defendant or co-conspirators. Information of this nature appears in
14 places such as the header information in an email, screen names and time stamps in chat
15 messages, or the metadata from files taken from a computer. The courts have
16 consistently held that machine-generated information is not hearsay as no “person” is
17 making a statement. See, e.g., United States v. Hamilton, 413 F.3d 1138, 1142-43 (10th
18 Cir. 2005) (computer-generated “header” information including the screen name, subject
19 of the posting, the date the images were posted, and the individual’s IP address was not
20 hearsay; no “person” was acting as a declarant); United States v. Washington, 498 F.3d
21 225, 231 (4th Cir. 2007) (machine-generated data used to determine whether a blood
22 sample contained drugs or alcohol were not statements of the lab technicians and were
23 not hearsay statements; they were made not by persons but machines analyzing the
24 sample; no Confrontation Clause issues); United States v. Khorozian, 333 F.3d 498, 506
25 (3d Cir. 2002) (information automatically generated by fax machine is not hearsay since
26 “nothing ‘said’ by a machine . . . is hearsay”), cert. denied, 540 U.S. 968 (2003).
27          Statements Offered to Supply Context: As noted above, the statements of the
28 defendant on e-mails and chat communications are admissible as party admissions. The
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 1 statements of others used in the e-mails and chat communications may be admitted as
 2 non-hearsay statements to supply context. See, e.g., United States v. Burt, 495 F.3d 733,
 3 738-39 (7th Cir. 2007) (in a chat between the defendant and third party, the portion of the
 4 chat from the third party was admissible to help the jury understand the conversation),
 5 cert. denied, 128 S.Ct. 724 (2007); United States v. Dupre, 462 F.3d 131, 136-37 (2d Cir.
 6 2006) (e-mails from third parties admissible when offered not for truth of the assertion,
 7 but to provide context for the defendant's response).
 8          Here, the government anticipates admitting emails and chat messages, some of
 9 which may come in for their truth under the appropriate rule, such as co-conspirator
10 statements and adoptive admissions, but at other times for reasons other than the truth of
11 the matter asserted, for example as evidence of defendant’s use of specific nicknames and
12 passwords, such as “smaus,.” The government will also offer evidence that receipts for
13 parts of the criminal infrastructure (such as the HopOne server) were found in the Yahoo
14 email accounts. Similar to ledgers found in a drug house offered to show the use of the
15 premises for criminal purposes, these emails will be offered to show that the email
16 accounts were used in furtherance of the fraud.
17 B.       Admission of Electronic Evidence
18          Much of the government’s evidence consists of electronic evidence, such as
19 emails, online chats, computer files, and remnants of computer activity found within
20 devices such as the HopOne server and defendant’s laptop. Despite the digital nature of
21 much of the government’s evidence, the Rules of Evidence apply no differently than they
22 do to physical evidence.
23          1.      General - Authentication of Electronic Evidence
24          Authentication of evidence under Federal Rule of Evidence 901 is an “aspect of
25 relevancy.” Fed. R. Evid. 901(a), Advisory Committee Notes (1972 Proposed Rules).
26 “To satisfy the requirement of authenticating or identifying an item of evidence, the
27 proponent must produce evidence sufficient to support a finding that the item is what the
28 proponent claims it is.” Fed. R. Evid. 901(a). In doing so, “[t]he government need only
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 1 make a prima facie showing of authenticity, as the rule requires only that the court admit
 2 evidence if sufficient proof has been introduced so that a reasonable juror could find in
 3 favor of authenticity or identification.” United States v. Black, 767 F.2d 1334, 1342 (9th
 4 Cir. 1985) (internal quotes and citations omitted). This “rule is not a particularly high
 5 hurdle.” United States v. Ortiz, 966 F.2d 707, 716 (1st Cir. 1992). Once a prima facie
 6 showing of authenticity has been made, any questions about accuracy or completeness
 7 are for the jury to consider in determining the weight to give to the evidence, and not to
 8 admissibility. See United States v. Tank, 200 F.3d 627, 630 (9th Cir. 2000) (quoting also
 9 United States v. Catabran, 836 F.2d 453, 458 (9th Cir. 1988) (“Any question as to the
10 accuracy of the printouts…would have affected only the weight of the printouts, not their
11 admissibility.”).
12          Moreover, in making its determination, “the court is not bound by evidence rules,
13 except those on privilege.” Fed. R. Evid. 104(a). In proving authenticity, the
14 government may utilize “circumstantial, as well as direct, evidence.” Black, 767 F.2d at
15 1342 (citation omitted). Authenticity may be shown by “the appearance, contents,
16 substance, internal patterns or other distinctive characteristics of the item, taken together
17 with all the circumstances.” Fed. R. Evid 901(b)(4); see United States v. Jones, 107 F.3d
18 1147, 1150, (6th Cir. 1997) (“[A] document…may be shown to have emanated from a
19 particular person by virtue of its disclosing knowledge of facts known peculiarly to
20 him…”) (citing Fed. R. Evid. 901(b)(4), Advisory Committee Notes, Example (4)); see
21 also Alexander Dawson v. N.L.R.B., 586 F.2d 1300, 1302 (9th Cir. 1978) (“The content of
22 a document, when considered with the circumstances surrounding its discovery, is an
23 adequate basis for a ruling admitting it into evidence.”) (citation omitted).
24          Furthermore, in regards to chain of custody, a sufficient chain of custody is
25 established if a reasonable juror could conclude that the proffered evidence is in
26 “substantially the same condition as when they were seized.” United States v.
27 Harrington, 923 F.2d 1371, 1374 (9th Cir. 1991)(quotations and citation omitted). In
28 establishing chain of custody, “[t]here is no rule requiring the prosecution to produce as
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 1 witnesses all persons who were in a position to come into contact with the article sought
 2 to be introduced in evidence.” Gallego v. United States, 276 F.2d 914, 917 (9th Cir.
 3 1960) (citation omitted). Moreover, gaps in a chain of custody “normally go to the
 4 weight of the evidence, rather than its admissibility.” United States v. Melendez-Diaz,
 5 557 U.S. 305, 311 n.1 (2009); see also United States v. Matta-Ballesteros, 71 F.3d 754,
 6 769 (9th Cir. 1995) (“[A] defect in the chain of custody goes to the weight, not the
 7 admissibility, of the evidence introduced”) (citations omitted); Harrington, 923 F.2d at
 8 1374 (“The possibility of a break in the chain of custody goes only to the weight of the
 9 evidence.”).
10          As it would with physical evidence, the government will authenticate its electronic
11 evidence generally by agent testimony about where the evidence was seized, how it was
12 copied from the electronic device, and what about the “appearance, contents, substance,
13 internal patterns or other distinctive characteristics of the item, taken together with all the
14 circumstances” makes it relevant to the defendant’s case. Fed. R. Evid. 901(b)(4).
15 Discussed below are several categories of evidence the government anticipates admitting
16 into evidence, all of which were taken from the internet, digital devices, and seized
17 computers and servers.
18          2.      Screenshots of Undercover Operations
19          The government will offer screenshots of web pages (such as the Bulba and 2Pac
20 website) taken by law enforcement officers during undercover operations and other
21 online investigative activities. The screenshots will be authenticated by the law
22 enforcement officers, who will testify that the screenshots are an accurate representation
23 of the websites on the dates that they visited them. This is sufficient to support admission
24 of the documents under Rule 901(b)(1), which allows for authentication by testimony of a
25 witness with knowledge “that an item is what it is claimed to be.” United States v.
26 Bansal, 663 F.3d 634, 668 (3d Cir. 2011) (testimony from witness with knowledge of
27 websites was sufficient to authenticate screenshots under Rule 901(b)(1)); Thompson v.
28 Bank of America N.A., 783 F.3d 1022, 1028 (5th Cir. 2015) (“in the case of . . . a website
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 1 . . . testimony with direct knowledge of the source stating that it fully and accurately
 2 reproduces it, may be enough to authenticate”); Osborn v. Butler, 712 F. Supp. 2d 1134,
 3 1146 (D. Idaho 2010) (printout of website properly authenticated by affidavit of witness
 4 who printed the page).
 5          3.      Online Chats
 6          During trial, the government anticipates admitting chat logs verifying the
 7 Defendant’s identity and his criminal activities. The evidentiary standard for chat logs is
 8 the same bar outlined in Fed. R. Evid. 901(a), that is that the chats are what they purport
 9 to be. See Tank, 200 F.3d at 630-631 (government made a prima facie showing of
10 authenticity with testimony that the chats were accurate printouts, and establishing a
11 connection with the chat logs and the defendant); United States v. Masters, 613 F. Appx.
12 618, 620-21 (9th Cir. 2015) (finding chat logs were properly authenticated because “a
13 reasonable juror could conclude that the user” was the defendant based upon other
14 evidence). Moreover, “[t]he issue of authenticity – the identity of the author of a
15 particular item of evidence such as a document or phone call – is for the jury once a
16 prima facie case of authorship is made out by the proponent of the evidence.” Carbo v.
17 United States, 314 F.2d 718 (9th Cir. 1986). “The issue for the trial judge in determining
18 whether the required foundation for the introduction of evidence has been established is
19 whether the proof is such that the jury, acting as reasonable men, could find it authorship
20 as claimed by the proponent.” Id.
21          To establish foundation for internet chats, witnesses will testify that the chats were
22 found on defendant’s laptop, and that they were printed from the computers accurately.
23 In the case of chats found in places other than defendant’s laptop, the government will
24 provide extensive evidence linking the chats to Seleznev, thereby meeting the low
25 threshold of a prima facie showing of authenticity. For example, the government will
26 offer chats between defendant (using the alias nCuX111) and a third party in which
27 nCuX111 identifies himself as Roman Seleznev and provides Roman Seleznev’s address
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 1 as a shipping address and the Boookscafe Account as his email address. This is sufficient
 2 prima facie evidence to support admission of these chats as statements of the defendant.
 3          4.      Emails
 4          During trial, the government anticipates admitting evidence of emails from the
 5 following Boookscafe Account, Rubensamvelich Account, and Bulba Account
 6 (collectively the “Yahoo Accounts”). Based on the investigation, the Yahoo Accounts
 7 were all utilized by Seleznev to further his criminal schemes. In response to legal
 8 process, Yahoo! produced business records, which provided subscriber information for
 9 each of the Yahoo Accounts. The subscriber information identifies information such as
10 the “Login Name,” “Account Created” date, the “Full Name and “Address” provided by
11 the user. Yahoo produced a Business Record Certification identifying the subscriber
12 information as a duplicate of a record of regularly conducted activity that would be
13 admissible under Rule 803(6). As such, the subscriber record information is admissible as
14 a self-authenticating record under Fed. R. Evid. 902(11) and an exception to the rule
15 against hearsay pursuant to Fed. R. Evid. 803(6).
16        In addition to the business records with subscriber information, Yahoo! produced
17 emails which were contained within the Yahoo Accounts. From the produced emails, the
18 government anticipates admitting approximately 40 separate emails found within the
19 Yahoo Accounts. The government anticipates authenticating those records by means of a
20 Rule 902(11) certification rather than through a Yahoo representative. In addition, the
21 government will provide evidence that will be “sufficient to support a finding that the
22 matter in question is what its proponent claims.” Fed. R. Evid. 901(a). See, e.g., United
23 States v. Fluker, 698 F.3d 988, 999-1000 (7th Cir. 2012) (finding that emails were
24 properly authenticated through circumstantial evidence, including the content of the
25 email itself); United States v. Siddiqui, 235 F.3d 1318, 1322-1323 (11th Cir. 2000)
26 (finding that emails were properly authenticated through circumstantial evidence,
27 including because the email address had been associated with the defendant). As
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 1 discussed above, there is extensive evidence establishing that this email account was
 2 maintained by Seleznev.
 3          5.      Server Contents
 4          In addition to emails from Yahoo!, the government anticipates admitting evidence
 5 stored on the HopOne server. A server is a computer that is often used for specific client
 6 services such as hosting a webpage or storing data. The HopOne server was used to
 7 receive data, such as stolen credit card data. Additionally, a user of the HopOne Server
 8 could log into it to conduct general computing activities, such as browsing the web.
 9          Because the HopOne server contained data similar to how computers, hard drives
10 and other digital storage devices hold data, the authentication process of its data is
11 similar, that is by a witness with knowledge who can establish where the server was
12 obtained, how it was examined, and what files were extracted from the server. See, e.g.,
13 United States v. Salcido, 506 F.3d 729, 733 (9th Cir. 2007) (“[T]he government properly
14 authenticated the videos and images under Rule 901 by presenting detailed evidence as to
15 the chain of custody, specifically how the images were retrieved from the defendant’s
16 computers.”); United States v. Whitaker, 127 F.3d 595, 601 (7th Cir. 1997) (in conspiracy
17 to distribute marijuana case, computer files were properly authenticated by an agent who
18 testified that the records were seized from defendant’s computer during a search warrant
19 and that the agent participated in obtaining the computer printouts). The government will
20 offer testimony from law enforcement agents authenticating the HopOne server.
21         6.    Domain Registration Information
22
            The government will offer evidence showing the publicly-available domain
23
     registration information for Seleznev’s websites. As discussed above, a person seeking to
24
     establish a website must provide a registrar with certain registration information
25
     including his or her name and email address. These records, which are similar to
26
     telephone books for the internet, are shared publically across the internet in order to
27
     facilitate the proper routing of computer communications. Various companies, including
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 1 a Seattle-based company named Domain Tools, maintain directories of this registration
 2 information. The information in these domain registration records is relied on by the
 3 public and those working in the computer networking industry. The government will
 4 offer reports produced by Domain Tools to establish, for example, that the
 5 Rubensamvelich Account was used to register the Track2 website.
 6          The Domain Tools registration reports are admissible under Federal Rule of
 7 Evidence 803(17), which provides for the admissibility of “lists, directories, or other
 8 published compilations generally used and relied upon by the public or by persons in
 9 particular occupations.” These domain registration reports are widely-relied upon,
10 publicly-available documents of the sort repeatedly held admissible under Rule 807(17).
11 United States v. Woods, 321 F.3d 361, 363-4 (3d Cir. 2003) (vehicle identification
12 number recorded in national crime database admissible under Rule 807(17)); United
13 States v. Goudy, 792 F.2d 664, 674 (7th Cir. 1986) (bank directory admissible to show
14 routing number assigned to specific bank); United States v. Anderson, 532 F.2d 1218,
15 1222 (9th Cir. 1976) (publicly-available stock market reports admissible to show stock
16 price recorded in those reports). They are also admissible as records of a regularly-
17 conducted activity under Rule 803(6).
18          7.      Nicknames
19          Much of the evidence at trial will display or connect Seleznev to nicknames he
20 used throughout his criminal activity. “As many courts have recognized, a prosecutor
21 may introduce evidence of a defendant's alias or nickname if this evidence aids in the
22 identification of the defendant or in some other way directly relates to the proof of the
23 acts charged in the indictment.” United States v. Williams, 739 F.2d 297 (7th Cir. 1984).
24 See also United States v. Kalish, 690 F.2d 1144, 1155 (5th Cir.1982), cert. denied, 459
25 U.S. 1108, 103 S.Ct. 735, 74 L.Ed.2d 958 (1983) (defendant's alias admissible where it
26 was used to conceal identity from arresting officer).
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 1 C.       Defendant’s Interview With Law Enforcement
 2          On December 19, 2014, Seleznev participated in a voluntary interview with law
 3 enforcement. During this interview, Seleznev admitted substantially all conduct charged
 4 in the Second Superseding Indictment, including the fact that he was the true identity
 5 behind nCuX, Track2, Bulba and 2Pac.
 6       As the Court is aware, Seleznev made these statements pursuant to an agreement
 7 providing that his statements could be used against him at trial only if (a) he testified
 8 contrary to his interview statements, or (b) his attorneys took positions at trial contrary to
 9 those statements. On April 29, 2016, the Court granted in part defendant’s motion to
10 limit this agreement. The Court found that, when he signed the agreement, Seleznev may
11 not have understood the portion of the agreement allowing use of his admissions based on
12 the conduct of his attorneys.
13          However, the Court found that ethical rules nonetheless preclude counsel from
14 taking positions that they know are contrary to their client’s admissions. Accordingly,
15 the Court held that defense counsel “will not be permitted to elicit substantive, non-
16 impeachment testimony, either on cross-examination of witnesses called by the
17 government or from witnesses called to testify on behalf of the defendant or to present
18 arguments to the jury at any stage of the proceedings that directly contradict specific
19 factual statements made by the defendant” during the interview. Dkt 328 at 7. The
20 government has filed a motion in limine setting out the scope of Seleznev’s admissions
21 and proposing a procedure for enforcing this Order at trial. Dkt. 360. Defendant has also
22 filed a motion addressing this issue. Dkt. 364.
23 D.      Expert Testimony
24          1.      Admissibility of Expert Testimony
25
            Federal Rule of Evidence 702 governs the admission of expert testimony. It is
26
     based on the recognition that “an intelligent evaluation of the facts is often difficult or
27
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 1 impossible without the application of specialized knowledge.” Rule 702 Adv. Comm.
 2 Note. Rule 702 provides:
 3          If scientific, technical, or other specialized knowledge will assist the trier of
            fact to understand the evidence or to determine a fact in issue, a witness
 4
            qualified as an expert by knowledge, skill, experience, training, or
 5          education, may testify thereto in the form of an opinion or otherwise, if (1)
            the testimony is based upon sufficient facts or data, (2) the testimony is the
 6
            product of reliable principles and methods, and (3) the witness has applied
 7          the principles and methods reliably to the facts of the case.
 8 Fed. R. Evid. 702.
 9       In the Daubert decision, the Supreme Court adopted a flexible test for determining
10 whether to admit scientific expert testimony under Rule 702. Daubert v. Merrell Dow
11 Pharm., Inc., 509 U.S. 579, 588 (1993). The Supreme Court later extended Daubert to
12 apply to “technical or other specialized knowledge.” Kumho Tire Co. v. Carmichael, 526
13 U.S. 137, 147 (1999). However, Kumho Tire rejected the proposition that the Daubert
14 factors should be rigidly applied, stating instead that those factors “may or may not be
15 pertinent in assessing reliability, depending on the nature of the issue, the expert’s
16 particular expertise, and the subject of his testimony.” Kumho, 526 U.S. at 138.
17        While Daubert directs trial courts to serve as “gatekeepers” by excluding
18 testimony that is genuinely unreliable, the gatekeeper role “is not intended to serve as a
19 replacement for the adversary system.” Fed. R. Evid. 702 Adv. Comm. Notes (quoting
20 United States v. 14.38 Acres of Land, 167 F.3d 155 (5th Cir. 1996)). Indeed, Daubert
21 itself made clear that “vigorous cross examination, presentation of contrary evidence, and
22 careful instruction on the burden of proof are the traditional and appropriate means of
23 attacking shaky but admissible evidence.” Daubert, 509 U.S. at 595. Further, the Ninth
24 Circuit has stated that Rule 702 should be “construed liberally,” as a rule of inclusion and
25 not of exclusion. United States v. Hankey, 203 F.3d 1160, 1168-69 (9th Cir. 2000)
26 (expert testimony on gang activity properly admitted as specialized knowledge where
27 expert had extensive personal observations of gangs; “Rule 702 works well for this type
28 of data gathered from years of experience and special knowledge”).
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 1          An expert witness is not limited to providing opinion testimony. To the contrary,
 2 Rule 702 expressly provides that an expert “may testify in the form of an opinion or
 3 otherwise.” (Emphasis added); see Rule 7 Adv. Comm. Notes (noting that “the
 4 assumption that experts testify only in the form of opinions” is “logically unfounded,”
 5 and that “an expert on the stand may give a dissertation or exposition of scientific or
 6 other principles relevant to the case” without testifying in the form of an opinion). Much
 7 of the government’s expert testimony will consist of experts explaining technical issues,
 8 but not necessarily in the form of an opinion.
 9          2.      The Government’s Expert Testimony
10          The government disclosed its expert testimony to the defense on January 12, 2016,
11 with supplemental notices on March 2, 2016 and April 27, 2016. These disclosures are
12 attached to this Trial Brief as Exhibit A, and describe in detail the scope of expected
13 testimony. The government provides the following brief summaries of expert testimony
14 that may be adduced at trial, while reserving the right to present all testimony described
15 in the notices.
16         Detective David Dunn: Since August 2014, Detective Dunn has been a strategic
17 advisor to the Seattle Police Department (“SPD”) and a part-time member of the USSS
18 Electronic Crimes Task Force (“ECTF”). Before that, Detective Dunn spent 14 years
19 with SPD and previously served as a full-time member of the USSS ECTF for seven
20 years.
21        In February 2013, Detective Dunn left full-time government service to become the
22 Director of Global Incident Response for Fidelity Information Services, the world’s
23 largest provider of financial service technology. Detective Dunn is currently employed
24 as the Deputy Chief Information Security Officer for Kroll and Associates, a computer
25 security incident response and remediation company where he has been employed since
26 February 2016. In the course of his career, Detective Dunn has developed expertise and
27 specialized knowledge about computer systems and networks, network intrusions
28 (specifically point of sale intrusions), computer forensics, credit card payment processing
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 1 systems, the underground carding industry, and the fraudulent use of credit card data.
 2 Detective Dunn was the original investigating officer on this case.
 3          Detective Dunn will provide the jury with an overview of technical issues relating
 4 to the internet, computer systems, network intrusions and payment systems. For
 5 example, Detective Dunn will explain principles relevant to the operation of the internet
 6 such as the use of internet protocol (“IP”) addresses and the methods by which websites
 7 are registered and hosted. He will explain the role of servers and other types of computer
 8 infrastructure, and will explain the operation of web-based email such as the Yahoo!
 9 email accounts at issue here. Detective Dunn will explain the basic operation of point of
10 sale (“POS”) systems and also the way in which credit cards are encoded and processed.
11          Detective Dunn will also testify about the modus operandi of carders and hackers.
12 The Ninth Circuit has held that testimony of this nature is admissible under Rule 702.
13 United States v. Anchrum, 590 F.3d 795, 804 (9th Cir. 2009) (law enforcement officer
14 properly testified about modus operandi of gangs he had investigated); United States v.
15 Vallejo, 237 F.3d 1008, 1016 (9th Cir. 2001) (expert testimony on modus operandi of
16 drug dealers admissible); United States v. Plunk, 153 F.3d 1011, 1017 (9th Cir. 1998),
17 overruled on other grounds, United States v. Hankey, 203 F.3d 1160, 1169 n.7 (9th Cir.
18 2000) (approving expert testimony on jargon and coded language of criminals).
19 Specifically, Detective Dunn will testify about the methods that hackers use to intrude
20 into POS systems and other computers. As part of this testimony, Detective Dunn will
21 discuss malware generally and the operation of the specific malware that Seleznev
22 utilized in this case. Detective Dunn also will discuss the international carding
23 community and explain the role of carding forums and automated vending sites.
24 Detective Dunn will also testify about the meaning of slang and jargon used in the
25 carding community. Detective Dunn examined many of the victim computers in this case
26 and will provide specialized testimony relevant to those examinations.
27          As discussed above, Detective Dunn was the case agent on this matter and will
28 provide both fact testimony and expert testimony. Because of the inherently complex
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 1 nature of computer hacking and network intrusion investigations, cybercrime
 2 investigators such as Detective Dunn employ specialized knowledge and expertise in
 3 nearly every step of their investigations. Accordingly, explaining their investigative steps
 4 (the type of testimony considered purely fact testimony for other types of law
 5 enforcement officers) necessarily involves explaining specialized matters. The Ninth
 6 Circuit has held that, where a witness will give dual fact and expert testimony, “a
 7 cautionary instruction on the dual role of such a witness must be given.” Comment to
 8 Ninth Circuit Model Jury Instruction 4.14A (citing United States v. Vera, 770 F.3d 1232,
 9 1246 (9th Cir. 2014). The government is proposing that the Court provide Ninth Circuit
10 Model Instruction 4.14A to address this issue.
11          Special Agents David Mills and Michael Fischlin: Special Agent David Mills is
12 a Seattle-based USSS agent and forensic examiner. Special Agent Michael Fischlin is a
13 former Seattle-based USSS agent and forensic examiner. Special Agent Fischlin served
14 as case agent on this matter between July 2014 and May 2016. Special Agent Fischlin is
15 presently an agent with the United States Postal Inspection Service.
16          Special Agents Mills and Fischlin both participated in the forensic analysis of the
17 laptop seized from Seleznev at the time of his arrest. They will provide specialized
18 testimony about forensic analysis and the contents of the laptop. In addition, Special
19 Agent Fischlin examined the computer systems of one of the victims in this case (Red
20 Pepper Pizza) and will testify about specialized matters relating to that examination.
21          Detective Chris Hansen: Detective Hansen is a member of the Seattle Police
22 Department and the USSS Electronic Crimes Task Force. Detective Hansen is an
23 experienced forensic examiner and is also experienced in investigating identify theft and
24 credit card fraud. Detective Hansen conducted the forensic examination of Seleznev’s
25 iPhone and is expected to testify about specialized matters relating to this examination.
26          Special Agent John Szydlik: Special Agent Szydlik is a Washington, DC-based
27 agent with the USSS Cyber Intelligence Section. Special Agent Szydlik has extensive
28 experience with the Liberty Reserve e-payment system that Seleznev used to collect
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 1 payment for the stolen credit card data he sold under the nCuX, Track2, and Bulba nics.
 2 Agent Szydlik is familiar with the Liberty Reserve records, which were seized by law
 3 enforcement in May 2013 and will testify about the portions of the records that show
 4 Seleznev receiving payment for stolen credit card data under the nCuX, Track2, and
 5 Bulba nics. 4 Agent Szydlik also conducted an investigation into the 2pac website and
 6 made undercover purchases from that website before Seleznev’s arrest. Special Agent
 7 Szydlik may testify about specialized matters in describing those activities and the
 8 operation of the website.
 9           Matthew Geiger: Mr. Geiger is a specialist in malware analysis and presently
10 works as a Senior Security Researcher for Dell Secureworks. Before joining
11 Secureworks, Mr. Geiger worked for the United States Computer Emergency Readiness
12 Team (US-CERT), a component of the Department of Homeland Security whose mission
13 includes responding to computer security incidents and analyzing data about emerging
14 cyber threats.
15           Mr. Geiger analyzed three different versions of the malware that Seleznev
16 installed on victim machines. Mr. Geiger will testify about the functionality of the
17 malware, the way in which it was packaged and installed, and how it sent stolen credit
18 card data over the internet to remote servers.
19           Tim Chen: Mr. Chen is a corporate officer of Domain Tools, a Seattle-based
20 company that maintains registration information for websites including those operated by
21
22
     4
23     As a person familiar with the Liberty Reserve records, Special Agent Szydlik is qualified to authenticate
     and testify about the records under Rule 803. See United States v. Ray, 930 F.2d 1368, 1370 (9th Cir.
24   1990) (investigator properly permitted to authenticate corporate records because she “was familiar with”
     the record in question, had personally examined the records, and demonstrated a thorough understanding
25   of the company’s preparation and maintenance of records); see also States v. Hathaway, 798 F.2d 902
     (6th Cir. 1986) (“[T]here is no reason why a proper foundation for application of Rule 803(6) cannot be
26   laid, in part or in whole, by the testimony of a government agent or other person outside the organization
27   whose records are sought to be admitted. . . . [A]ll that is required is that the witness be familiar with the
     record keeping system.”); United States v. Franco, 874 F.2d 1136, 1139-40 (7th Cir. 1989) (holding that
28   an agent’s “thorough description of the bookkeeping process” qualified him to authenticate business
     records under Rule 803(b) despite not being custodian).
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 1 the defendant. Mr. Chen may discuss specialized matters pertaining to domain
 2 registration, hosting, and related issues.
 3          Grayson Lenik: Mr. Lenik is a private digital forensic investigator who was hired
 4 by many of Seleznev’s victims to investigate and remediate Seleznev’s intrusions into
 5 their computer systems. Mr. Lenik may testify about his analyses of these systems,
 6 which may involve testimony about specialized matters.
 7 E.       Charts and Summaries
 8          The government will offer various charts and summaries, many of which are
 9 discussed in response to defendant’s motions in limine. These summaries are admissible
10 under Federal Rule of Evidence 1006, which provides in pertinent part:
11
            The contents of voluminous writings, recordings, or photographs which
12          cannot conveniently be examined in court may be presented in the form of a
13          chart, summary, or calculation.

14 Fed. R. Evid. 1006. “The purpose of the rule is to allow the use of summaries when the
15 documents are unmanageable or when the summaries would be useful to the judge and
16 jury.” United States v. Rizk, 660 F.3d 125, 1130 (9th Cir. 2011).
17          Summary evidence is admissible if the underlying materials upon which the
18 summary is based (1) are admissible in evidence; and (2) were made available to the
19 opposing party for inspection. Fed. R. Evid. 1006; Rizk, 660 F.3d at 1130. The
20 availability requirement ensures that the opposing party has an opportunity to verify the
21 reliability and accuracy of the summary prior to trial. Rizk, 660 F.3d at 1130. The
22 underlying materials must be admissible, but need not themselves be admitted into
23 evidence. Id. at 1130.
24 F.       Demonstrative Exhibits
25          The government also intends to use various demonstrative charts during its opening
26 statement, examinations of witnesses, and in closing argument. Such charts include, for
27 example, charts setting out the computer infrastructure Seleznev used in his intrusions
28 and data trafficking. Such charts are permissible to assist the jury in understanding the
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 1 evidence, even if they are not themselves admissible. United States v. Stephens, 779 F.2d
 2 232, 238 (5th Cir. 1985) (simple flow charts tracing the defendant’s use of loan
 3 proceeds).
 4          The Ninth Circuit has determined that courts should take three precautionary
 5 measures when demonstrative charts are used: (1) review the charts to determine if
 6 information contained in them is supported by proof; (2) allow charts to be used as
 7 testimonial aids for witnesses and visual aids for counsel in argument, but not admit the
 8 charts in evidence or allow their use during jury deliberation; and (3) instruct the jury that
 9 the charts are an explanation of other evidence and not proof per se. United States v.
10 Abbas, 504 F.2d 123, 125 (9th Cir. 1974). The jury should be told the charts are presented
11 as a matter of convenience and if found to be inaccurate they should be disregarded
12 entirely. The government is proposing Ninth Circuit Model Instruction 4.15, which
13 contains this cautionary language.
14 G.       Redaction of Credit Card Numbers and Certain Other Information
15          Local Civil Rule 5.2 provides for the redaction from exhibits of certain
16 information, including passport numbers, dates of birth and “financial accounting
17 numbers.” In certain circumstances in this case, however, redaction of this information
18 from trial exhibits is impractical and not necessary.
19          In many situations, the information that would be redacted is the evidence that
20 must be presented to the jury. For example, Seleznev’s passport number and date of birth
21 appear in various places in the infrastructure used to commit the crimes. To link
22 defendant to the crime, the government needs to display defendant’s passport number and
23 date of birth to the jury to show that the information saved on the computers in the
24 criminal infrastructure actually matches the information found on defendant’s person at
25 the time of arrest. Similarly, in the case of credit card numbers, the existence of stolen
26 credit card numbers on defendant’s computer is evidence tying defendant to the fraud.
27 The government therefore needs to display the credit card numbers to the jury.
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 1          The risk that this information will be misused based on its display at trial is remote
 2 or non-existent. The government will not publicly file any documents containing
 3 personal identifying information. To the extent that the exhibits are filed in the court
 4 records, they will be filed under seal. Further, it is extremely unlikely that any of the
 5 credit card numbers remain active. All of the numbers were compromised between
 6 approximately two and eight years ago, and the USSS has informed the credit card
 7 issuers that these numbers have been compromised. Given these factors, the government
 8 does not intend to redact the credit card numbers from its exhibits.
 9 H.       Request to Accommodate Travel Schedule of Detective Dunn
10          As the government previously informed the court staff at the time of scheduling
11 the trial, Detective Dunn, who is now a civilian witness, has a longstanding international
12 family trip planned to begin on August 20. Detective Dunn will be called as one of the
13 government’s first witnesses, and the government expects that his direct testimony will
14 be complete by mid-day on Thursday, August 18. In the event that the defense does not
15 conclude its cross examination of Detective Dunn on August 19, the government requests
16 that cross examination of Detective Dunn be continued until Tuesday August 30, when he
17 returns to the United States.
18 I.       Disposition of Forfeiture Allegations
19          1.      Overview
20          Criminal forfeiture is not an element of the charged offenses. Rather, it is a form

21 of punishment that may be imposed as part of the criminal sentence. Libretti v. United
22 States, 516 U.S. 29, 39-40 (1995). The government must establish the forfeitability of
23 property by a preponderance of the evidence. United States v. Martin, 662 F.3d 301, 307
24 (4th Cir.2011); see also United States v. Rutgard, 116 F.3d 1270, 1293 (9th Cir. 1997);
25 United States v. Hernandez-Escarsega, 886 F.2d 1560, 1576-77 (9th Cir. 1989).
26       The procedures for determining the forfeitability of assets in criminal cases are set

27 forth in Federal Rule of Criminal Procedure 32.2. The forfeiture phase of the trial occurs
28 following a verdict of guilty on the counts that support the forfeiture. Fed. R. Crim. P.
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 1 32.2(b)(1)(A). The question before the fact finder is “whether the government [has
 2 established the] requisite nexus between the property and the offense.” Rule
 3 32.2(b)(1)(A). The nexus that the government must show depends on the statutory basis
 4 for forfeiture—“constituting, or derived from, proceeds…obtained directly or indirectly,
 5 as the result of such violation.” 18 U.S.C. § 982(a)(2).
 6             A fact finder may base its forfeiture determination on evidence already in the
 7 record, as well as any additional evidence or information submitted by the parties. Fed.
 8 R. Crim. P. 32.2(b)(1)(B). Because forfeiture is part of sentencing, the Rules of Evidence
 9 do not apply. United States v. Capoccia, 503 F.3d 103, 109 (2d Cir.2007). Accordingly,
10 hearsay may be considered and relied upon so long as it has sufficient indicia of
11 reliability. Id.
12             2.      The Court, Not a Jury, Should Determine Relevant Forfeiture Issues
13             Rule 32.2(b)(1) draws a distinction between two kinds of forfeitures B forfeiture of
14 “specific property” and “personal money judgments.” Where the government seeks a
15 money judgment for the amount of the proceeds of the defendant’s crime, there is no
16 nexus determination to be made by the jury and the defendant is not entitled to a jury
17 determination on the amount of the money judgment. United States v. Tedder, 403 F.3d
18 836, 841 (7th Cir. 2005) (“Rule 32.2 does not entitle the accused to a jury’s decision on
19 the amount of the forfeiture”); United States v. Phillips, 704 F.3d. 754, 771 (9th Cir.
20 2012) (“Given that the only issue here was a monetary forfeiture, no jury determination
21 was necessary.”). 5
22             In the instant case, the government is seeking a personal money judgment and not
23 the forfeiture of specific property. The Superseding Indictment provides Seleznev with
24 notice that, pursuant to 18 U.S.C. §§ 982(a)(2)(A), 982(a)(1)(B), and 1030(i)(B), upon
25 his conviction of Wire Fraud, in violation of 18 U.S.C. § 1343, Intentional Damage of a
26
27   5
         Rule 32.2(b)(1)(A) establishes that the government may seek a personal money judgment against the
28 defendants. See also United States v. Casey, 444 F.3d 1071, 1077 (9th Cir. 2006) (a money judgment is
     warranted in a criminal case against a convicted defendant even if the defendant is insolvent).
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 1 Protected Computer, in violation on 18 U.S.C. §§ 1030(a)(5(A) and 1030(c)(4)(B)(i),
 2 Obtaining Information from a Protected Computer, in violation of 18 U.S.C. §§
 3 1029(a)(2) and (3), and/or Possession of Fifteen or More Unauthorized Access Devices,
 4 in violation of 18 U.S.C. §§ 1029(a)(3) and (c)(1)(A)(i), the government will seek a
 5 money judgment of a sum of money representing the proceeds of those offense charged.
 6 As a money judgment does not require a jury’s nexus determination, the government does
 7 not request that the jury determine the amount of the money judgment.
 8 J.       Translations
 9          Approximately 40 of the government’s trial exhibits are partially or completely
10 written in the Russian language. The government has prepared translations of each of
11 these exhibits. The translations have been marked as trial exhibits (for example, the
12 translation of Exhibit 5.4 is labeled 5.4a, the translation of Exhibit 5.5 is labeled 5.5a, and
13 so on). The government has provided all of the translations to the defense. The defense
14 has not objected to the accuracy of any of the translations.
15          As one of its first witnesses, the government intends to call translator Andrei
16 Medvedev. Mr. Medvedev has been a Washington State court-certified interpreter since
17 2010 and has been an active court interpreter since that time, testifying at various levels
18 of state and federal courts. Mr. Medvedev will testify that he has either created or
19 reviewed all of the translations, and that all of them are accurate translations of the
20 Russian original. Based on this testimony, the government will request that the
21 translations be admitted conditionally upon the admission of the Russian originals.
22          A translation of an otherwise admissible document is admissible based on a
23 qualified interpreter’s testimony that the interpretation is accurate. United States v. Khan,
24 794 F.3d 1288, 1294 (11th Cir 2015) (trial court properly admitted translations that
25 contained translator’s bracketed notes explaining the meaning of certain passages).
26 Challenges to the accuracy of the translation do not go to their admissibility. Id. Rather,
27 the defendant may challenge the interpretations on cross examination, or by offering his
28 own translation, “thereby allowing the jury to make the final decision as to which
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 1 translation it [finds] most credible.” Id. The government has proposed a limiting
 2 instruction based on the one approved by the Shah court, which instructs the jury that it
 3 should assess for itself whether the translation is accurate based on factors such as the
 4 qualifications of the translator.
 5 K.       Exclusion of Witnesses
 6          Pursuant to Rule 615 of the Federal Rules of Evidence, the government
 7 respectfully requests that witnesses be excluded from the courtroom, with the exception
 8 of the case agent, Special Agent David Mills. United States v. Thomas, 835 F.2d 219,
 9 222-23 (9th Cir. 1987) (case agent permitted to remain in court through trial as a
10 representative of the government); see also United States v. Machor, 879 F.2d 945, 953-
11 54 (1st Cir. 1989) (same).
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 1                                     V.     CONCLUSION
 2          This Trial Brief is intended to familiarize the Court with the government’s case
 3 and evidentiary issues related to the trial presentation. The government will supplement
 4 this brief as necessary if additional issues arise.
 5          DATED this 25th day of July, 2016.
 6 Respectfully submitted,
 7 ANNETTE L. HAYES                                      LESLIE R. CALDWELL
   United States Attorney                                Assistant Attorney General
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1                                      CERTIFICATE OF SERVICE
2           I hereby certify that on July 25, 2016, I electronically filed the foregoing with the
3 Clerk of Court using the CM/ECF system which will send notification of such filing to
4 the attorneys of record for the defendant.
5
6                                                      s/Janet K. Vos
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